      Case 8-22-70838-ast            Doc 144        Filed 07/24/23     Entered 07/24/23 13:11:11




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                        :
                                                               :    Chapter 11
 MEMORY LANE MUSIC GROUP LLC, et al., :                             Case No. 22-70838 (AST)
                                                               :
                            Reorganized Debtors.               :     Substantively Consolidated
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                                      ORDER OF FINAL DECREE

                 Upon the application dated July 17,                   Application      Memory Lane

Music Group, LLC, Scion Three Music, LLC, Scion Four Music, LLC and Larry Spier Music,

             Reorganized Debtors

                                     Bankruptcy Rules , and notice to the United States Trustee hav-

ing been given pursuant to Local Bankruptcy Rule 3022-1, and no further notice being necessary,

and the Court having found that the

ganization has been substantially consummated and the estate fully administered, it is

                 ORDERED that the Application is granted; and it is further

                 ORDERED that, pursuant to Bankruptcy Rule 3022, the chapter 11 cases of the

Reorganized Debtors are closed.


NO OBJECTION:
/S/ Stan Y. Yang
Stan Y. Yang, Trial Attorney, Office of the United States Trustee




 Dated: July 24, 2023                                                  ____________________________
       Central Islip, New York                                                    Alan S. Trust
                                                                      Chief United States Bankruptcy Judge
